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    EXHIBIT D
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        Trial on Laundering of Money Allegedly Stolen in Kazakhstan Takes
        Unexpected Turn

        An American court is continuing to hear the lawsuit of BTA Bank’s Board Chairman Kenes
        Rakishev and the City of Almaty against the bank’s former owner Mukhtar Ablyazov, the
        former mayor of Kazakhstan’s capital Viktor Khrapunov, and his son Ilyas Khrapunov,
        whom the plaintiffs have charged with laundering money allegedly stolen in Kazakhstan.

        However, the trial suddenly took an unexpected turn. The New York City court decided to depose
        at a hearing plaintiff Kenes Rakishev, a man who has been exposed as a shill in several
        business “squeezing” schemes by Kazakhstan’s President Nursultan Nazarbayev and his
        associates.

        We have received the transcript of Kenes Rakishev’s deposition. We can say that certain details
        of that deposition indicate a political basis for the case. And they indirectly confirm that the
        essence of Nazarbayev’s claims against Ablyazov lies completely and entirely in the area of
        politics and the personal interests of the president and his associates.

        We learned that the New York trial would continue in an unexpected direction in early October.
        Reports surfaced on the Internet at that time
        (http://rakishev.org/corruption/nazarbaevskogo-funta-kenesa-rakisheva-budut-sudit-v-nyu-jorke/)
        to the effect that in the court proceedings, the American court was heeding the request of
        respondent’s counsel and had decided to call Kenes Rakishev for deposition.

        Essentially, the respondent’s side should have regarded this decision by the judge as a great
        victory, because no matter how events unfolded, the respondent would still get a chance to gain
        some profit. And it was all thanks to American law.

        The point is that Rakishev’s failure to appear for the deposition, under laws in effect in the U.S.,
        would have entailed serious penalties against the plaintiff, that is, BTA Bank. And it might even
        have caused them to lose the case.

        But to all appearances, the respondent’s counsel counted on Rakishev not to appear in court.
        Because thanks to those same American laws, during a deposition all trial parties have the right
        to ask any questions of the person under oath. Even if they do not directly concern the subject of
        the case.

        This feature of the law is often used




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        to show the court the political component of a case or to cast doubt on the moral qualities or
        truthfulness of the witness’s or plaintiff’s party. So the respondents’ attorneys in the case had
        probably prepared numerous interesting questions for Rakishev. At least, the respondents’
        counsel had promised even before October 11 that they would certainly ask questions in court
        about Rakishev’s relationship with Timur Kulibayev (an oligarch and Nazarbayev’s son-in-law),
        Goga Ashkenazi, and Nursultan Nazarbayev himself—people whom Ablyazov himself considers
        direct organizers of his political and criminal persecution—and urged those interested in the
        progress of the trial to stock up on popcorn.

        Understandably, we could not have dreamed that we would get a chance to learn the details of
        exactly what was said at Rakishev’s deposition. Until we received a transcript of Rakishev’s
        deposition.

        We obtained this confidential document from a person representing a BTA Bank employee. He is
        familiar with the course of the case through his work. Our interlocutor explained his decision to
        “leak” the responses of the current chairman of the bank’s board of directors simply: he
        considers Rakishev guilty of destroying a bank that was flourishing at the time of “nationalization.”
        At the time when the lawful owner Mukhtar Ablyazov was being “pressured” to give up BTA Bank
        after his refusal to sell part of the business to Nazarbayev for a pittance, it had equity capital of
        about $4 billion. But after a series of “restructurings” in 2014, the bank was bought by Kenes
        Rakishev, son of one and son-in-law of another close friend of President Nazarbayev. Even
        before that, Rakishev had more than once been a front man in schemes to squeeze businesses
        on behalf of President Nazarbayev. And he was this time, too. The “purchase” of a bank with
        several billion in assets cost Rakishev the laughable sum of $16,000!

        Over several years under the “thoughtful management” of the new “owner,” the bank became a
        depository for “bad” assets and a “black hole” for the [state] budget—a paltry $15 billion was
        spent to prop it up. In the end, Rakishev did undertake the risky procedure of merging BTA Bank
        into Kazkommertsbank, which caused many BTA Bank employees to lose their jobs and
        livelihoods. This fact, by the way, also contributed to our interlocutor’s decision to pass the
        Rakishev deposition transcript along to reporters.

        And we invite our readers to read Kenes Rakishev’s deposition transcript
        (fex.net/#!774521027138).

        [English text omitted]




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        Our editors are now continuing to study the deposition transcript. However, one significant fact
        has already drawn our attention: during the deposition, Rakishev’s lawyer urged that he not
        answer the question of whether he had corresponded on the Khrapunov and Ablyazov case with
        Karim Masimov, assistant to the former prime minister and the President’s former chief of staff,
        who is now Chairman of the Kazakhstan National Security Committee. And Rakishev took his
        lawyer’s advice. After all, under American law, the only reason a sworn witness is permitted not
        to answer a question can be the risk that by answering, he would incriminate himself.

        For now, we are continuing to study Rakishev’s deposition transcript. And we invite our
        English-speaking readers to take part in this and inform us of all interesting points they find in the
        document.

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translated from Russian to English by a professional translator competent in both Russian
and English to render such a translation, and that to the best of our knowledge, ability, and
belief this translation is a true, accurate, and complete translation of the original
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                                           __________________________________
                                           Leonardo Duran


                                           _________________________________
                                            November 10, 2017


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